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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL C

&nbsp;

AUGUST 11, 2010

&nbsp;

______________________________

&nbsp;

&nbsp;

OLIVIA REYES TIENDA, APPELLANT

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, APPELLEE

&nbsp;

&nbsp;

_________________________________

&nbsp;

FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;

&nbsp;

NO. 2009-422,182; HONORABLE CECIL G. PURYEAR, JUDGE

&nbsp;

_______________________________

&nbsp;

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

ORDER ON MOTION TO
REINSTATE APPEAL

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Following a
plea of not guilty, Appellant, Olivia Reyes Tienda,
was convicted of credit card or debit card abuse, a state jail felony.[1]&nbsp; Punishment was assessed at twenty-four months
confinement.&nbsp; By this accelerated appeal,
Appellant is challenging the trial court's order denying her bail pending
appeal.[2]&nbsp; By opinion dated July 19, 2010, this Court
dismissed this appeal as moot after having dismissed Appellant's direct appeal
for an untimely filed notice of appeal.&nbsp; See Tienda v.
State, No. 07-10-0257-CR.&nbsp; We now
grant the motion and reinstate this appeal, withdraw our opinion and judgment
of July 19, 2010, and issue the following order.

It having
come to the attention of this Court that Appellant did file a Motion for New
Trial making her notice of appeal in Cause Number 07-10-027-CR timely, by order
dated this same date, we reinstated Appellant's direct appeal.&nbsp; We now reinstate this accelerated appeal from
the trial court' order denying bail.&nbsp; The
record has been filed and Appellant's brief was filed on June 30, 2010.&nbsp; The court hereby sua
sponte grants the State an extension of time in which
to file its brief to August 23, 2010.

It is so
ordered.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

Do not publish.

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[1]Tex. Penal Code Ann. § 32.31 (Vernon Supp. 2009).

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[2]
Tex. Code Crim. Proc. Ann. art. 44.04(c) (Vernon 2006).







